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      QXPEHUZDV&+52 ([ DQGWKHQRQDWWRUQH\'HIHQGDQWGHIHDWHG
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        WKHODZILUPRI.XOLN*RWWHVPDQ6LHJHODQG:DUHZKRVKRZHGXSWRDRU
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      GD\WULDOZLWKQRZLWQHVVHVQRGHFODUDWLRQVDQGXQGHUIDOVHUHSUHVHQWDWLRQ
     Case 2:21-cv-04200-JWH-PD Document 10 Filed 09/20/21 Page 9 of 55 Page ID #:82



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       $WWRUQH\-XVWLQ1DVKGLGQRWUHSUHVHQWWKH+2$DQGOLHGWRWKHFRXUWDERXW
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       KLVUHSUHVHQWDWLRQWRVHFXUHDFRQWUDFWWKDWZDVWHUPLQDWHGE\%DURQHLQ
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       7KDWFRQWUDFWZDVIRU/RUGRQ0DQDJHPHQWZKR7KRPDV0:DUH,,

      ZRUNVXQGHUWKHJXLVHRIWKH+2$¶VUHSUHVHQWDWLRQEXWPDNHQRPLVWDNH
      KLVSDUWQHULV/RUGRQ0DQDJHPHQW7KHIUDXGXOHQWO\UHSUHVHQWLQJODZILUP
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       RI.XOLN*RWWHVPDQ6LHJHODQG:DUHKDYHEHHQEXVLQHVVSDUWQHUVZLWK
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       /RUGRQ0DQDJHPHQWORQJEHIRUHWKHWKLVIUDXG


     2GGO\WKH'LVWULFW$WWRUQH\VRIILFHZLWKDVWURQJUHFRPPHQGDWLRQIURPWKH
     6KHULII¶V'HSDUWPHQWGHFLGHGWRWDNHWKLVQRZLQFDVH/$929:
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       DQGZDVGURSSHG,Q-DQXDU\RI
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             'HSXWLHV3DUNVDQG0HWFDOIDQG'2(6WRRNLWXSRQWKHPVHOYHV
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       LQWKHLUFDSDFLW\DVERWKLQGLYLGXDOVDFWLQJRQWKHLURZQWRKXPLOLDWHMDLO
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     GHQ\PHGLFDOWUHDWPHQWWKHQSXWLQVROLWDU\FRQILQHPHQWWRFRHUFHKLPWR
     VLJQDGRFXPHQWUHOHDVHKHUHIXVHGWRVLJQLQLWLDOO\EHFDXVHLWFRQWDLQHG
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       IDOVHLQIRUPDWLRQ
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             7KLVDUUHVWHYHQPDGHLWWRWKHIURQWSDJHRIDORFDOQHZVSDSHUZKRVH
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       6HQLRU(GLWRULVQRQHRWKHUWKDQ-RKQ/RHVLQJWKHIRUPHU93RI//+2$

     WKDWZDVWKHELJJHVWFKHHUOHDGHURIWKHFULPLQDOFDUWHO/RHVLQJDOVRZDWFKHG
     WKH+2$¶V5HVHUYHDFFRXQWJRIURPDURXQGWRMXVWZKHQ
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       %DURQHWRRNRYHU:LWKLQMXVWPRQWKVWKH$VVRFLDWLRQKDGQHZ
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       HTXLSPHQWDEHWWHUJROIFRXUVHDQGDQRYHULQFUHDVHWRRYHU
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     LQWKHUHVHUYHDFFRXQWZKLFKKDVEHHQVWDJQDQWVLQFH7\UDQW
     :DWNLQVWRRNRYHUDQGDSSRLQWHGKHUERDUGE\YLRODWLQJQXPHURXVUHFDOO



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     Case 2:21-cv-04200-JWH-PD Document 10 Filed 09/20/21 Page 10 of 55 Page ID #:83



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         HOHFWLRQVFRUSRUDWLRQDQGFLYLOODZVSDYLQJWKHZD\IRUWKHFULPLQDOVWRJHW
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         DZD\VFRWIUHH,WZDVWKHXQYHLOLQJRIKRZPXFKPRQH\WKH&RXQWU\&OXE
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         ZDVPDNLQJDQGWKHFULPLQDOVZHUHKLGLQJWKDWFRQFHUQHGWKHFDUWHOWKH

        PRVW7KHSODLQWLIIKDGWRJRDQG7\UDQW:DWNLQVUHFHLYHGVRPHWKLQJIRU
        KHUKHOS
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               7KLVLVKRZYLJLODQWHMXVWLFHLVERUQDQGZKLOHWKH3ODLQWLIIKDVQR
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        LQWHUHVWRULQWHQWLRQRISDUWLFLSDWLQJWREHDEVHQWPLQGHGRIWKHNQRZOHGJH
       WKDWWKLVLVKDSSHQLQJWRRWKHUVZRXOGEHQDwYH7KHXQGHUFXUUHQWRI
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         WR[LFLW\EXEEOLQJLQWKH6XSHULRU&RXUWLVXQKHDOWK\DQGZLOOERLORYHU&DVH
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         VWD\SURWHFWHG6KHKDVEHHQWUDQVIHUUHGWRDQRWKHUFRXUWKRXVHLQD9DWLFDQ

       OLNHVKXIIOHDIWHUJUDQWLQJDIULYRORXVDQWL6/$33PRWLRQLW¶VQHDUO\
       ODXJKDEOHJLYHQWKHIDFWWKHDWWRUQH\ZKRILOHGLWFROOXGHGZLWKWKH
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         'HIHQGDQWDQGWKHQDVNHGWREHGLVPLVVHGDVOHJDOFRXQVHO2QWKHWK
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         DQGRQWKHWKGD\SUR[\$WWRUQH\$OH[+HUUHUDILOHVWKHVODSGD\VRU
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       OHVVLVZKHQDQWL6/$33PXVWEHILOHG
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               'HIHQGDQWLQWKDWFDVHZDVYLGHRUHFRUGHGEUHDNLQJIHGHUDOODZDW
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         DPRXWVLGHWKH&R3ODLQWLII¶VKRXVHWKDWHYHQLQJ6KHZDVFDXJKW
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         UXPPDJLQJWKURXJKDPDLOER[DQGSODFLQJIO\HUVRQPDLOER[HVDWDP
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       ZKLFKLVXQODZIXOEHFDXVH&LYLO&RGH E   &DQYDVVLQJDQG
       SHWLWLRQLQJWKHPHPEHUVWKHDVVRFLDWLRQERDUGDQGUHVLGHQWVIRUWKH
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         DFWLYLWLHVGHVFULEHGLQSDUDJUDSKV  DQG  DWUHDVRQDEOHKRXUVDQGLQD
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         UHDVRQDEOHPDQQHU$VVHPEO\IRU3ROLWLFDO3XUSRVHV)O\HUV

         DPLVQ¶WUHDVRQDEOHKRXUV
     Case 2:21-cv-04200-JWH-PD Document 10 Filed 09/20/21 Page 11 of 55 Page ID #:84



       7KDWFDVHLQZKLFKHYLGHQFHZDVQRWDOORZHGEHFDXVHLWZDVWXUQHGLQ
       GD\VHDUO\RSSRVHGWRWKHRUGD\VSURYHVKRZFRUUXSWWKH7\UDQW
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        7UDEHULVDQGKRZSURWHFWLYHDQGHQDEOLQJWKH6XSHULRU&RXUWLV
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             &DVH9(&3,PDJLQHDUHFDOOZKHUHWKHSHUVRQEHLQJ

       UHFDOOHGVWDUWVDVLPXOWDQHRXVUHFDOODQGWKHQVHQGVRXWDOOWKHUHFDOODQG
       HOHFWLRQPDWHULDOKLPVHOIZLWKWKHKHOSRIDPHPEHU *DU\.OH]HN ZKRLV
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        VXLQJWKHDVVRFLDWLRQ/&WKHQDOOE\KLPVHOIFKRRVHVWKHLQVSHFWRURI

        HOHFWLRQVWKHEULQJVKLVRZQDWWRUQH\WRWKH³PHPEHUVKLSRQO\´PHHWLQJV
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      EHIRUHWKHVLPXOWDQHRXVUHFDOOFDQEHORRNHGDW,PDJLQHWKDWSHUVRQVD\LQJ
      XQGHURDWKKHZDVDFWLQJDVDPHPEHUZKLOHKHZDVDFWXDOO\RQWKH%RDUG
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        RI'LUHFWRUVDQGVLJQHGWKHFRQWUDFWZLWKWKHLQVSHFWRURIHOHFWLRQVDQG
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        SURYLQJKLVWLWOHDV³'LUHFWRU´,PDJLQHLIWKDWVDPHSHUVRQZDVWKHUHFLSLHQW
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        RIDQLOOHJDOODQGDFTXLVLWLRQRIVTIWIURPWKHYHU\DVVRFLDWLRQKHLVD

      'LUHFWRURIDQGIDLOVWRGLVFORVHWKHGHWDLOVRILWZKLFKXQGHUDQ\
      FLUFXPVWDQFHZDVXQODZIXOEHFDXVHWKHDVVRFLDWLRQDVDZKROHPXVWYRWHRQ
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        LW7KHVDPHGLUHFWRUFUHDWHVDZHEVLWHZZZOOKRDXSGDWHFRPGXULQJWKH
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        UHFDOODQGDVDGLUHFWRUPDNHVVDODFLRXVDFFXVDWLRQVWKDWDIWHUPRQWKVKH
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        +RZGRHVDQ\RIWKHODVWIHZSDUDJUDSKVUHODWHWRWKLVFDVH"7KH6KHULIIVWRRN
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              'HSXW\3DUNVZDONHGDZD\DQGZDVRQWKHSKRQHIRUDSSUR[LPDWHO\
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       ZKHQ3ODLQWLIIDVNHGZKRZDVEULQJLQJLW3DUNVUHVSRQGHGE\VD\LQJ³6KHOE\
      :DJQHU´6KHOE\:DJQHUZRUNVIRUDFULPLQDOHQWHUSULVHQDPHG/RUGRQ
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        0DQDJHPHQW/RUGRQZDVKLUHGWRKDQGOHWKHILQDQFLDODUPRIWKH/DNH
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        /LQGHUR&RXQWU\&OXEDQG/DNH/LQGHUR+2$7KH\ZHUHFDXJKWUHGKDQGHG
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      ZDVWKH&(2DQGKDYHEHHQGRLQJLWDJDLQDFFRUGLQJWRWKH7\UDQW:DWNLQV
      %RDUG7KHDEVXUGLW\RIWKDWFDVHWKHSXUSRVHIXOOLHVSURYHQSHUMXU\JR
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        XQFKHFNHGIRUQRZEXW3ODLQWLIISURPLVHVWKLVFRXUWWKHUHZLOOEHDQRWKHU
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        ILOLQJWKDWLQFOXGHVWKH/RV$QJHOHV6XSHULRU&RXUW$WDLQ6SHFLDOW\,QVXUDQFH
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           7KH/$&6'LVDQXQGLVFLSOLQHGEXQFKDVSURYHQE\WKHSODQHFUDVK
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        LQYROYLQJ/DNHUVVWDU.REH%U\DQW'HSXWLHVSDVVHGRXWSKRWRVRIWKH
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        UHPDLQVRIWKHSHRSOHRQWKDWSODQHDVZHOODVFUDVKVLWHSKRWRVDQGDGPLWWHG
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      DVPXFKLQFRXUWSURFHHGLQJV7KHVHGHSXWLHVDQGWKH/$&6'HQMR\WKHIUHH
      PHDOVDQGPRQH\IURP0DUFR*RQ]DOH]
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     Case 2:21-cv-04200-JWH-PD Document 10 Filed 09/20/21 Page 13 of 55 Page ID #:86



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      3DUNVSURFHHGHGWRODXJKDQGSRLQWDW%DURQHZLWK6+(/%<:$*1(5
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     KDGDZDUUDQWIRU3ODLQWLII¶VDUUHVW7KHUHDVRQ6+(/%<:$*1(5FDPHWRWKH
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       FOXEDQGYLRODWHGWKHUHVWUDLQLQJRUGHUDJDLQVWKHUZDVEHFDXVHWKHGHSXWLHV
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       ZDQWHGDUHDVRQWRDUUHVW%DURQHNQRZLQJVKHZDVQRWDOORZHGDWWKH&RXQWU\
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     FRPPLWWHGDFULPHQRUUHDVRQDEOHVXVSLFLRQRIFULPLQDOLW\DIRRWE\WKH3ODLQWLII
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     XQUHDVRQDEOHVHL]XUHRI3ODLQWLIILQYLRODWLRQRIKLVULJKWVXQGHUWKH)RXUWK

      $PHQGPHQWWRWKH8QLWHG6WDWHV&RQVWLWXWLRQ
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    DPRXQWWREHSURYHQDWWULDOZKLFKLVLQH[FHVVRI
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                   7KHDFWLRQVE\VDLGGHIHQGDQWVZHUHFRPPLWWHGPDOLFLRXVO\
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      RSSUHVVLYHO\DQGLQUHFNOHVVGLVUHJDUGRI3ODLQWLII¶FRQVWLWXWLRQDOULJKWVVXIILFLHQW

    IRUDQDZDUGRISXQLWLYHH[HPSODU\GDPDJHVDJDLQVWDOOGHIHQGDQWVDQGHDFKRI
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      WKHPLQDQDPRXQWWREHSURYHQDWWULDOLQH[FHVVRIIRUWKH
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    SODLQWLII
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                      8QUHDVRQDEOH8QODZIXO(QWU\,QWRDQG6HDUFKDQG
                                 6HL]XUHRI3ULYDWH5HVLGHQFH
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     Case 2:21-cv-04200-JWH-PD Document 10 Filed 09/20/21 Page 17 of 55 Page ID #:90



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                 3ODLQWLIIKHUHE\UHDOOHJHVDQGLQFRUSRUDWHVE\UHIHUHQFHWKHDOOHJDWLRQV
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      VHWIRUWKLQSDUDJUDSKVWKURXJKLQFOXVLYHDERYHDVLIVHWIRUWKLQIXOOKHUHLQ
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                $VVKRZQDERYHGHIHQGDQWV/$&6'DQG'2(6WRLQFOXVLYH
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      HQWHUHGWKH3ODLQWLII¶3ULYDWH3URSHUW\E\WKHPVHOYHVZLWKRXWDZDUUDQWFRQVHQW
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                 $OVRDVVKRZQDERYHGHIHQGDQWV/$&6'DQG'2(6WR
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      RISURSHUW\LQWKHDEVHQFHRIDZDUUDQWFRQVHQWRUDQHPHUJHQF\LQYLRODWLRQRI
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    WKH3ODLQWLIIULJKWVWREHIUHHIURPVXFKHQWU\VHDUFKDQGVHL]XUHRI3ODLQWLII¶V
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      SURSHUW\XQGHUWKH)RXUWK$PHQGPHQWWRWKH8QLWHG6WDWHV&RQVWLWXWLRQ
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               $VDGLUHFWDQGSUR[LPDWHUHVXOWRIWKHDFWLRQVRI'HIHQGDQWV
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    SV\FKRORJLFDOFRVWVELOOVDQGH[SHQVHV LQFXUUHGORVWZDJHVDQGSURILWV
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      DQG VXIIHUHGWHUULEOHSK\VLFDOLQMXU\SDLQDQGVXIIHULQJDVZHOODVPHQWDODQG
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     HPRWLRQDOSDLQDQGVXIIHULQJDQG VXIIHUHGLVVXIIHULQJORVWZDJHVDQGSURILWV
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      DOOLQDQDPRXQWWREHSURYHQDWWULDOLQH[FHVVRIIRUWKHSODLQWLII
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                7KHDFWLRQVRIVDLGGHIHQGDQWVDQGHDFKRIWKHPDVFRPSODLQHGRI
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      KHUHLQZHUHFRPPLWWHGPDOLFLRXVO\RSSUHVVLYHO\DQGLQUHFNOHVVGLVUHJDUGRI

     3ODLQWLII¶FRQVWLWXWLRQDOULJKWVVXIILFLHQWIRUDQDZDUGRISXQLWLYHH[HPSODU\

      GDPDJHVDJDLQVWVDLGGHIHQGDQWVLQDQDPRXQWWREHSURYHQDWWULDOLQH[FHVVRI
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                3ODLQWLIIKHUHE\UHDOOHJHDQGLQFRUSRUDWHE\UHIHUHQFHWKHDOOHJDWLRQV
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    VHWIRUWKLQSDUDJUDSKVWKURXJKLQFOXVLYHDERYHDVLIVHWIRUWKLQIXOOKHUHLQ
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                $VFRPSODLQHGRIKHUHLQDERYHWKHDFWVRIGHIHQGDQWV/$&6'DQG
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      '2(6WKURXJKGHSULYHG3ODLQWLIIRIWKHLUULJKWVXQGHUWKH

    ODZVRIWKH8QLWHG6WDWHVDQG7KH8QLWHG6WDWHV&RQVWLWXWLRQ
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                7KHWUDLQLQJSROLFLHVRI/$&6'ZHUHQRWDGHTXDWHWRWUDLQLWV
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    SROLFHRIILFHUHPSOR\HHVWRSURSHUO\DQGODZIXOO\KDQGOHVLWXDWLRQVVLPLODUWRWKH
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      RQHWKH\ZHUHSUHVHQWHGZLWKZKHQWKH\FRQIURQWHG3ODLQWLIILQFOXGLQJWUDLQLQJ
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      RQ ZKHQGHSXW\VKHULIIVDUHODZIXOO\SHUPLWWHGWRHQWHUDQGVHDUFKDSURSHUW\

      DQGSHUVRQ ZKHQGHSXW\VKHULIIVDUHODZIXOO\SHUPLWWHGWRWDNHHPSOR\HHVRI
                                &203/$,17)25'$0$*(6
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     Case 2:21-cv-04200-JWH-PD Document 10 Filed 09/20/21 Page 19 of 55 Page ID #:92



     SULYDWHSURSHUW\RIIRIWKHLUSURSHUW\ WKDWWDNLQJSHUVRQVRIIRIWKHLUSURSHUW\
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      RQDQH[SLUHGFRXUWRUGHUXQUHDVRQDEOHDQGXQODZIXODQG WKDWVHL]LQJSULYDWH
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                 /$&6'ZDVGHOLEHUDWHO\LQGLIIHUHQWWRWKHREYLRXVFRQVHTXHQFHV
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      RILWVIDLOXUHWRWUDLQLWVSROLFHRIILFHUHPSOR\HHVDGHTXDWHO\

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      GHSULYDWLRQRI3ODLQWLIIULJKWVE\GHIHQGDQWV/$&6'
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    DQG'2(6WKURXJKLQFOXVLYH
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                 /$&6' VIDLOXUHWRWUDLQLVFORVHO\UHODWHGWRWKHGHSULYDWLRQRI
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      SODLQWLII VULJKWVDVWREHWKHPRYLQJIRUFHWKDWXOWLPDWHO\FDXVHG3ODLQWLIILQMXULHV

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                $VDGLUHFWDQGSUR[LPDWHUHVXOWRIWKHDFWLRQVRIGHIHQGDQWV
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      H[SHQVHV DQGLQFXUUHGRWKHUVSHFLDODQGJHQHUDOGDPDJHVLQFOXGLQJDWWRUQH\¶V
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    IHHVLQYHVWLJDWRUIHHVDQGDVVRFLDWHGOLWLJDWLRQFRVWVDQGH[SHQVHVDOOLQDQ
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      DOOHJDWLRQVVHWIRUWKLQSDUDJUDSKVWKURXJKLQFOXVLYHDERYHDVLIVHWIRUWKLQ
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    XQQHFHVVDULO\GHJUDGLQJDQGKXPLOLDWLQJPDQQHUVXFKDVE\WDNLQJWKHPRXWLQ
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      IURQWRIDOOHPSOR\HHVFOLHQWVDQGZLWKLQIWRIDODZIXOO\UHVWUDLQHGSHUVRQ
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      $QJHOHV&RXQW\6KHULII¶V'HSDUWPHQWSHUVRQQHODQGZHUHDSUR[LPDWHFDXVHRI
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    WKHYHU\VDPHIHGHUDOFRQVWLWXWLRQDOYLRODWLRQVFRPSODLQHGRIE\WKH3ODLQWLIILQ
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     Case 2:21-cv-04200-JWH-PD Document 10 Filed 09/20/21 Page 21 of 55 Page ID #:94



               $VDSUR[LPDWHUHVXOWRIVDLGGHIHQGDQWVDFWLQJSXUVXDQWWRVDLG
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      SROLFLHV FXVWRPV XVDJHV DQG SUDFWLFHV RI GHIHQGDQWV /$&6' DERYH
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               $VDGLUHFWDQGSUR[LPDWHUHVXOWRIWKHDFWLRQVRIGHIHQGDQWV
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      VXIIHULQJDQGGLVWUHVV LQFXUUHGPHGLFDODQGSV\FKRORJLFDOFRVWVELOOVDQG
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                'HIHQGDQWV/$&6'DQG'2(6WKURXJKLQFOXVLYHLQWHQWLRQDOO\
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      GHSULYHG3ODLQWLIIRIWKHLUIUHHGRPRIPRYHPHQWE\XVHRISK\VLFDOIRUFHDQG
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                3ODLQWLIIGLGQRWFRQVHQWWRVDLGGHSULYDWLRQRIWKHLUIUHHGRPRI
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      LQFOXVLYHRUWRWKHXVHRIIRUFHDQGYLROHQFHXSRQWKHP

                3ODLQWLIIVXIIHUHGKDUPEHFDXVHRIVDLGGHSULYDWLRQRIWKHLUIUHHGRPRI
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     Case 2:21-cv-04200-JWH-PD Document 10 Filed 09/20/21 Page 23 of 55 Page ID #:96



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      GHVSLFDEOHFRQGXFWVXIILFLHQWIRUDQDZDUGRISXQLWLYHH[HPSODU\GDPDJHV

     DJDLQVW3$5.60(7&$/)DQG'2(6WKURXJKLQFOXVLYHLQDQDPRXQWWR

      EHSURYHQDWWULDOZKLFKLVLQH[FHVVRIIRUSODLQWLII
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    LQWHUIHUHZLWKE\XVHRIWKUHDWVLQWLPLGDWLRQDQGFRHUFLRQWKHH[HUFLVHRU
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      HQMR\PHQWE\3ODLQWLIIRIWKHULJKWVVHFXUHGWRWKHPE\WKH&RQVWLWXWLRQDQGODZV
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       Lake Lindero HOA ‘lost its way,” judge says
       With Agoura Hills club mired in legal disputes, leadership team is thrown out
       April 20, 2020

       An April 7 ruling by the California Superior Court in Van
       Nuys validates a new leadership team at the troubled
       Lake Lindero Home Owners Association and puts to an
       end much of the strife that has racked the Agoura Hills
       HOA for the past three years.

       The ruling upholds the dismissal of Lake Lindero
       general manager Chris Barone in December 2019–and it
       a¨rms a recall election held in the same month that
       stripped authority from the board of directors he                      ON THE PROPERTY—Worried homeowners are concerned
       controlled.                                                            about the appearance of Lake Lindero tennis and swim club
                                                                              in Agoura Hills. Most vendors have abandon the club out of
                                                                              exasperation. A court ruling a¨rmed a new leadership team
       The former board under Barone that fought to stay in                        because the old one, the court said, “lost its way.”
       power had “lost its way,” according to the ruling earlier
       this month by judge Shirley Watkins.

       Lost Hills Sheriff’s deputies arrested Barone Feb. 12 for violating a temporary restraining order that
       required him to keep away from the tennis and swim club at Thousand Oaks Boulevard and Lake
       Lindero Drive.

       O¨cials reported that following his ouster as manager, Barone had removed more than $200,000 from
       the HOA bank account and directed dues from the association’s 459 members be sent to his private
       home address.

       Sandy Sandler of Westlake Village told The Acorn she was ¦red from her job at Union bank because of
       the incident, saying that she was “misled” by Barone that the withdrawal was authorized when it was
       not.

       Barone was was also questioned by deputies for an alleged assault on club property in 2019.

       “The former board abrogated its legal and ¦scal responsibilities to Mr. Barone, who made decisions
       outside the inquisitive eyes of the association members, in secret, without accountability, about
       important decisions . . . with the transparency required by state law,” Watkins said.



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       “The majority members of the former board, a body of volunteers,
                                                              $GVE\did not have the courage to do the
       right thing,” the judge’s ruling said. “Fearful of their own positions, encouraged by a rampant over
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       zealousness of Mr. Barone, the majority members of the former board failed to do the right thing.”

       The Lake Lindero association ¦led a sheriff’s report earlier this year against another former employee,
       Judee White, for alleged theft. The HOA said that White, who was ¦red as Barone’s administrative
       assistant last December, went to the club in January and demanded an employee hand over money
       from a cash drawer. When the employee declined the request White picked up the cash drawer and
       departed, the complaint said.

       The events prompted the April 7 court ruling, which said Barone and White were “not credible,” and
       supports a new HOA board of directors under president Michael Allan.

       “This is the beginning of a new chapter for the HOA that signi¦es the members ¦nally being heard,”
       Allan said. “The community is the real winner. We are looking forward to the reopening of the facility to
       the members once the pandemic is deemed concluded.”

       “I respect the tentative ruling of the court,” Barone told The Acorn, but said he believed the newspaper
       will not be able to “report the story objectively as it is false.”

       While Lake Lindero still faces multiple lawsuits involving disgruntled vendors and the club’s former
       manager, David Smith—who sued the HOA over alleged breach of contract in 2017—the latest charge
       of election tampering and misappropriation of homeowner funds was resolved by this month’s court
       ruling.

       “I couldn’t be happier,” said Barbara Biglow, a resident of the Lake Lindero neighborhood for 29 years. “.
       . . We can move forward.”


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VHHNLQJ2U\RXPD\PDLO\RXUUHTXHVWWR$QDO\VW3XEOLF,QTXLU\8QLW2IILFHRIWKH$WWRUQH\*HQHUDO
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    PHPEHUVZKRORVWLQWKHHOHFWLRQDQGDIRUPHUHPSOR\HHIURPIXUWKHUGLVPDQWOLQJRIWKH//+2$RSHUDWLRQDO
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Case 2:21-cv-04200-JWH-PD Document 10 Filed 09/20/21 Page 51 of 55 Page ID #:124
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    KWWSVZZZOOKRDXSGDWHFRPSRVWWZRLQGHSHQGHQWKRDDWWRUQH\VSURYLGHGOHJDORSLQLRQVUHFDOOHOHFWLRQ
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    HOHFWHGQHZERDUGLVWRYRLGWKHHOHFWLRQUHVXOWVDQGQXOOLI\WKHDXWKRULW\RIWKHOHJDOO\HOHFWHGQHZERDUG

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